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                 EXHIBIT A
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    2019-        49-58               Partial              (b)(5)                    Email titled “Meeting on Vetting re: Immediate Actions”
    ICLI-
    00017                                                                           Redacted Information per (b)(5):
                                                                                    Partial redactions pursuant to FOIA Exemptions (b)(5) was
                                                                                    used on internal discussions between ICE employees
                                                                                    regarding the drafting and recommendations on a briefing
                                                                                    package on the use of open source in law enforcement
                                                                                    investigations.

                                                                                    The information contains deliberative material and is withheld
                                                                                    per (b)(5) which protects the integrity of the deliberative or
                                                                                    decision-making processes within the agency by exempting
                                                                                    from mandatory disclosure opinions, conclusions, and
                                                                                    recommendations included within inter-agency or intra-
                                                                                    agency memoranda or letters. The release of this internal
                                                                                    information would discourage the expression of candid
                                                                                    opinions and inhibit the free and frank exchange of
                                                                                    information and ideas between agency personnel resulting in
                                                                                    a chilling effect on intra- and inter-agency communications.
                                                                                    The deliberative process privilege protects the internal
                                                                                    deliberations of the government by exempting
                                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                                    agency decision making. The privilege also prevents the

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  Plaintiffs have agreed not to challenge any withholdings under FOIA Exemptions (b)(6) and (b)(7)(C). Additionally, there were several other withholdings that
ICE made under FOIA Exemptions (b)(4), (b)(5), and (b)(7)(E) that Plaintiffs have agreed not to challenge. These withholdings have not been included within
ICE’s Vaughn Index.

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                                                                       premature disclosure of proposed policies, serves to avoid
                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.
2019-     62-63         Partial              (b)(5)                    Email titled “Social Locator for OST SOP"
ICLI-
00017                                                                  Redacted Information per (b)(5):
                                                                       Partial redactions pursuant to FOIA Exemptions (b)(5) was
                                                                       used on internal discussions between ICE employees
                                                                       discussing draft contract language regarding Social Locator
                                                                       technology.

                                                                       The information contains deliberative material and is withheld
                                                                       per (b)(5) which protects the integrity of the deliberative or
                                                                       decision-making processes within the agency by exempting
                                                                       from mandatory disclosure opinions, conclusions, and
                                                                       recommendations included within inter-agency or intra-
                                                                       agency memoranda or letters. The release of this internal
                                                                       information would discourage the expression of candid
                                                                       opinions and inhibit the free and frank exchange of
                                                                       information and ideas between agency personnel resulting in
                                                                       a chilling effect on intra- and inter-agency communications.

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                                                                       The deliberative process privilege protects the internal
                                                                       deliberations of the government by exempting
                                                                       recommendations, analyses, and discussions undertaken to aid
                                                                       agency decision making. The privilege also prevents the
                                                                       premature disclosure of proposed policies, serves to avoid
                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.
2019-     106-110       Partial              (b)(7)(E)                 PowerPoint: HSI Patriot Social Medial Pilot Program
ICLI-
00017                                                                  Redacted Information per (b)(7)(E):
                                                                       Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                       used on screen shots of databases and software used by law
                                                                       enforcement during the course of their investigations which
                                                                       contains URLs, database tabs, and functions.

                                                                       Reason for Redaction
                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques
                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be

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                                                                       expected to risk circumvention of the law. Disclosure of what
                                                                       databases law enforcement officers use, how they access
                                                                       those databases, the various tabs and data contained within
                                                                       this software, including the domain names and addresses
                                                                       could assist third parties in accessing these databases and,
                                                                       were they able to gain access to these databases, could enable
                                                                       an individual to navigate, alter, and/or manipulate these law
                                                                       enforcement databases. Disclosure of information not
                                                                       commonly known to the public could reasonably be expected
                                                                       to risk circumvention of the law. The disclosure of this law
                                                                       enforcement sensitive information serves no public benefit
                                                                       and would not assist the public in understanding how the
                                                                       agency is carrying out its statutory responsibilities.
2019-     145-157       Full                 (b)(7)(E)                 PowerPoint titled “Tips for Open Source Analysis
ICLI-                                                                  Research without TECS”
00017
                                                                       Redacted Information per (b)(7)(E):
                                                                       Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                       used on tips for using open source research to conduct law
                                                                       enforcement investigations, including what open source sites
                                                                       law enforcement officers should use, how to use those sites,
                                                                       what to do with the results of the research and other
                                                                       investigative tips.

                                                                       Reason for Redaction
                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques

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                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be
                                                                       expected to risk circumvention of the law. Disclosure of the
                                                                       techniques and procedures law enforcement officers are
                                                                       instructed to use when conducting open source research could
                                                                       assist third parties in circumventing the law and avoid
                                                                       detection by providing insight into what steps could be taken
                                                                       to counter these techniques and procedures. Disclosure of
                                                                       information not commonly known to the public could
                                                                       reasonably be expected to risk circumvention of the law. The
                                                                       disclosure of this law enforcement sensitive information
                                                                       serves no public benefit and would not assist the public in
                                                                       understanding how the agency is carrying out its statutory
                                                                       responsibilities.
2019-     161-167       Full                 (b)(7)(E)                 PowerPoint titled “Discussing Intelligence Assessments”
ICLI-
00017                                                                  Redacted Information per (b)(7)(E):
                                                                       Bates number 2019-ICLI-00017.00161 through 2019-ICLI-
                                                                       00017.00167 was withheld in full under FOIA Exemptions
                                                                       (b)(7)(E) as these pages contain an intelligence assessment
                                                                       prepared by the HSI Office of Intelligence and Analysis
                                                                       regarding possible pitfalls and opportunities to detect terrorist
                                                                       activities.

                                                                       Reason for Redaction


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                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques
                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be
                                                                       expected to risk circumvention of the law. Disclosure of the
                                                                       intelligence assessments prepared to forecast and recommend
                                                                       courses of action based upon both public and covert
                                                                       information regarding terrorist activities and how to avoid
                                                                       pitfalls and utilize opportunities could assist third parties in
                                                                       circumventing the law and avoid detection by providing them
                                                                       a blueprint of what law enforcement officers know, what they
                                                                       anticipate, and how they plan to take investigative steps.
                                                                       Disclosure of information not commonly known to the public
                                                                       could reasonably be expected to risk circumvention of the
                                                                       law. The disclosure of this law enforcement sensitive
                                                                       information serves no public benefit and would not assist the
                                                                       public in understanding how the agency is carrying out its
                                                                       statutory responsibilities.

2019-     208-218       Full                 (b)(7)(E)                 Pages from the Document titled “NCTC Pursuit Open
ICLI-                                                                  Source Tips and Tricks”
00017
                                                                       Redacted Information per (b)(7)(E):
                                                                       Bates number 2019-ICLI-00017.00208 through 2019-ICLI-
                                                                       00017.00218 was withheld in full under FOIA Exemptions
                                                                       (b)(7)(E) as these pages contain tips for using open source

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                                                                         research to conduct law enforcement investigations,
                                                                         tradecraft, how to counter risks, and what open source sites
                                                                         law enforcement officers should use, how to use those sites,
                                                                         what to do with the results.

                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         techniques and procedures law enforcement officers are
                                                                         instructed to use when conducting open source research could
                                                                         assist third parties in circumventing the law and avoid
                                                                         detection by providing insight into what steps could be taken
                                                                         to counter these techniques and procedures. Disclosure of
                                                                         information not commonly known to the public could
                                                                         reasonably be expected to risk circumvention of the law. The
                                                                         disclosure of this law enforcement sensitive information
                                                                         serves no public benefit and would not assist the public in
                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     247-248, 251-   Partial               (b)(E)                   Pages from PowerPoints and Training Documents titled
ICLI-     254, 262-286,                                                  “Homeland Security Investigation Counterterrorism and
00017     288-299, 304-                                                  Criminal Exploitation Unit (CTECEU),” a 108 page
          307, 309-313,                                                  document, “CTCEU Social Media Exploitation,” a 9 page

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         316-320, 328-                                                 document, “Homeland Security Investigation,” a 28 page
         330, 334, 336,                                                document, “CTCEU Social Medial Exploitation DARPA:
         347-352, 356-                                                 XDATA and Memez,” a 3 page document, “Homeland
         358, 366-367,                                                 Security Investigations CTCEUSocial Medial
         373-374, 378,                                                 Exploitation,” an untitled 27 page document, “Homeland
         385, 387-388,                                                 Security Investigations CTCEUOpen Source Team,” a 60
         390, 392-392,                                                 page document, “HSI Homeland Security Investigations
         399, 406-407,                                                 Counterterrorism and Criminal Exploitation Unit,” an
         415, 424-425,                                                 untitled 25 page document.
         427, 429-430,
         437-442, 446-                                                 Redacted Information per (b)(7)(E):
         448, 467-469,                                                 Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
         473, 476                                                      used on tactics using open source research for locating and
                                                                       researching law enforcement suspects, what sites to research,
                                                                       what data points are used and exploited,, screen shots of how
                                                                       databases should be researched, and other investigative steps.

                                                                       Reason for Redaction
                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques
                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be
                                                                       expected to risk circumvention of the law. Disclosure of the
                                                                       techniques and procedures law enforcement officers are
                                                                       instructed to use when conducting open source research could
                                                                       assist third parties in circumventing the law and avoid

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                                                                         detection by providing insight into what steps could be taken
                                                                         to counter these techniques and procedures. Disclosure of
                                                                         information not commonly known to the public could
                                                                         reasonably be expected to risk circumvention of the law. The
                                                                         disclosure of this law enforcement sensitive information
                                                                         serves no public benefit and would not assist the public in
                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     509 – 514       Partial              (b)(7)(E)                 Documents titled HSI Counterterrorism and Criminal
ICLI-                                                                    Exploitation Unit 2017 Case Surge Summary
00017
                                                                         Redacted Information per (b)(7)(E):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                         used on the number and location of agents who were involved
                                                                         in the PATRIOT program.

                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         location and number of agents working on a particular law
                                                                         enforcement program could assist a third party in targeting
                                                                         these locations to disrupt law enforcement operations.
                                                                         Disclosure of information not commonly known to the public

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                                                                         could reasonably be expected to risk circumvention of the
                                                                         law. The disclosure of this law enforcement sensitive
                                                                         information serves no public benefit and would not assist the
                                                                         public in understanding how the agency is carrying out its
                                                                         statutory responsibilities.
2019-     1159-1175       Partial              (b)(7)(E)                 Documents titled “VSP Fee Funding Talking Points” and
ICLI-                                                                    “VSP Fee Funding Talking Points_Addendum”
00017
                                                                         Redacted Information per (b)(7)(E):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                         used on estimated numbers and ratios of employees assigned
                                                                         to VSP program offices, the number of locations that would
                                                                         be staffed with a VSP program office, and the identity of each
                                                                         location where a VSP program office would be located.

                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         location and number of agents working on a particular law
                                                                         enforcement program could assist a third party in targeting
                                                                         these locations to disrupt law enforcement operations.
                                                                         Disclosure of information not commonly known to the public
                                                                         could reasonably be expected to risk circumvention of the

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                                                                                 law. The disclosure of this law enforcement sensitive
                                                                                 information serves no public benefit and would not assist the
                                                                                 public in understanding how the agency is carrying out its
                                                                                 statutory responsibilities.
    2019-      596-640            Full                 (b)(5)2                   PowerPoint titled “Procurement Sensitive: Performance
    ICLI-      957-1001                                                          Work Statement Visa Lifecycle Vetting Initiative”
    00017      1264-1308
               1356- 1400                                                        Redacted Information per (b)(5):
               1717-1760                                                         This document is an initial, non-final draft of the Performance
               1983-2027                                                         Work Statement Visa Lifecycle Vetting Initiative.

                                                                                 Reason for Redaction(s):
                                                                                 FOIA exemption (b)(5) was applied to withhold the
                                                                                 information contained in this draft document. This document
                                                                                 was prepared by ICE and was in the process of being
                                                                                 reviewed by divisions within the Office of Homeland Security
                                                                                 Investigations in anticipation of procuring a contract and is in
                                                                                 draft form, watermarked with “DRAFT.” The information
                                                                                 contained in this document is withheld per (b)(5) which
                                                                                 protects the integrity of the deliberative or decision-making
                                                                                 processes within the agency by exempting from mandatory
                                                                                 disclosure opinions, conclusions, and recommendations

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 Bates numbered pages 2019‐ICLI‐00017.1717 through 2019-ICLI-00017.1760 and 2019-ICLI-00017.1983 through 2019-ICLI-00017.2027, incorrectly
contained (b)(4) FOIA Exemption markings. The FOIA Exemption used for these markings is (b)(5).



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                                                                       included within inter-agency or intra-agency memoranda or
                                                                       letters. The release of this internal information would
                                                                       discourage the expression of candid opinions and inhibit the
                                                                       free and frank exchange of information and ideas between
                                                                       agency personnel resulting in a chilling effect on intra- and
                                                                       inter-agency communications. The deliberative process
                                                                       privilege protects the internal deliberations of the government
                                                                       by exempting recommendations, analyses, and discussions
                                                                       undertaken to aid agency decision making. The privilege also
                                                                       prevents the premature disclosure of proposed policies, serves
                                                                       to avoid public confusion generated by rationales or decisions
                                                                       not ultimately adopted by an agency, and maintains the
                                                                       integrity of agency decision-making processes by
                                                                       encouraging open and candid discussions. Draft documents,
                                                                       by their nature, are pre-decisional and preliminary versions of
                                                                       what may later become a final document in whole or in part.
                                                                       Oftentimes draft documents never evolve into a final form;
                                                                       material is withdrawn or discarded during the decision-
                                                                       making process.
2019-     812-814       Full                 (b)(5)                    Document titled Name of Proposal: “NSID/VSCC Social
ICLI-     915-916                                                      Media Pilot Program Funding request”
00017     918-919
                                                                       Redacted Information per (b)(5):
                                                                       2019-ICLI-00017.812 through 2019-ICLI-00017.814 is an
                                                                       initial, non-final draft of the Proposal for the NSID/VSCC
                                                                       Social Media Pilot Program.


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                                                                    Reason for Redaction(s):
                                                                    FOIA exemption (b)(5) was applied to withhold the
                                                                    information contained in this draft document that was
                                                                    prepared by ICE and circulated for comments within the
                                                                    Office of Homeland Security Investigations. This document
                                                                    was prepared in anticipation of procuring a contract and is in
                                                                    draft form, contains highlighted areas, and contains comment
                                                                    bubbles. The information contained in this document is
                                                                    withheld per (b)(5) which protects the integrity of the
                                                                    deliberative or decision-making processes within the agency
                                                                    by exempting from mandatory disclosure opinions,
                                                                    conclusions, and recommendations included within inter-
                                                                    agency or intra-agency memoranda or letters. The release of
                                                                    this internal information would discourage the expression of
                                                                    candid opinions and inhibit the free and frank exchange of
                                                                    information and ideas between agency personnel resulting in
                                                                    a chilling effect on intra- and inter-agency communications.
                                                                    The deliberative process privilege protects the internal
                                                                    deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are
                                                                    pre-decisional and preliminary versions of what may later

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                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.

2019-     819-830       Full                 (b)(5)                    Portions from the document titled Visa Lifecycle Vetting
ICLI-                                                                  Initiative (VLVI) Quality Assurance Surveillance Plan”
00017
                                                                       Redacted Information per (b)(5):
                                                                       2019-ICLI-00017.819 through 2019-ICLI-00017.830 is an
                                                                       initial, non-final draft of Quality Assurance Surveillance Plan
                                                                       which was produced in 2019-ICLI-00017.856 through 2019-
                                                                       ICLI-00017.867 and 2019-ICLI-00017.895 through 2019-
                                                                       ICLI-00017.907.

                                                                       Reason for Redaction(s):
                                                                       FOIA exemption (b)(5) was applied to withhold the
                                                                       information contained in this draft document that was
                                                                       prepared by ICE and circulated within divisions of the Office
                                                                       of Homeland Security Investigations for comments and edits.
                                                                       This document was prepared in anticipation of procuring a
                                                                       contract and is in draft form, contains highlighted areas, and
                                                                       contains comment bubbles. The information contained in this
                                                                       document is withheld per (b)(5) which protects the integrity
                                                                       of the deliberative or decision-making processes within the
                                                                       agency by exempting from mandatory disclosure opinions,
                                                                       conclusions, and recommendations included within inter-
                                                                       agency or intra-agency memoranda or letters. The release of

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                                                                       this internal information would discourage the expression of
                                                                       candid opinions and inhibit the free and frank exchange of
                                                                       information and ideas between agency personnel resulting in
                                                                       a chilling effect on intra- and inter-agency communications.
                                                                       The deliberative process privilege protects the internal
                                                                       deliberations of the government by exempting
                                                                       recommendations, analyses, and discussions undertaken to aid
                                                                       agency decision making. The privilege also prevents the
                                                                       premature disclosure of proposed policies, serves to avoid
                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.

2019-     921           Partial              (b)(7)(E)                 Email titled “VIVL language”
ICLI-
00017                                                                  Redacted Information per (b)(7)(E):
                                                                       Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                       applied to the location of targeted law enforcement
                                                                       operations.

                                                                       Reason for Redaction


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                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques
                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be
                                                                       expected to risk circumvention of the law. Disclosure of the
                                                                       locations where law enforcement operations are being
                                                                       targeted could assist a third party in circumventing the law or
                                                                       disrupting these law enforcement operations. Disclosure of
                                                                       information not commonly known to the public could
                                                                       reasonably be expected to risk circumvention of the law. The
                                                                       disclosure of this law enforcement sensitive information
                                                                       serves no public benefit and would not assist the public in
                                                                       understanding how the agency is carrying out its statutory
                                                                       responsibilities.
2019-     942-943       Partial              (b)(7)(E)                 Document titled “Shared Services Vetting Board
ICLI-                                                                  Briefing”
00017
                                                                       Redacted Information per (b)(7)(E):
                                                                       Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                       applied to the number of employees on a particular law
                                                                       enforcement operation and the locations of targeted law
                                                                       enforcement operations.

                                                                       Reason for Redaction
                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques

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                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         number of employees assigned during a particular law
                                                                         enforcement operation and/or the location where these
                                                                         operations are being targeted would reveal ICE’s resource
                                                                         allocation methods relative to geographic location which can
                                                                         reveal current and future patterns of ICE operations and thus
                                                                         enable a a third party in circumventing the law or disrupting
                                                                         these law enforcement operations. Disclosure of information
                                                                         not commonly known to the public could reasonably be
                                                                         expected to risk circumvention of the law. The disclosure of
                                                                         this law enforcement sensitive information serves no public
                                                                         benefit and would not assist the public in understanding how
                                                                         the agency is carrying out its statutory responsibilities.
2019-     1002-1007       Partial                                        Email titled “DD-254”
ICLI-                                          (b)(5)
00017                                                                    Redacted Information per (b)(5):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(5) was
                                                                         used on internal discussions between ICE employees
                                                                         regarding security classification procedures, who should have
                                                                         access, who makes the decision, and what draft language
                                                                         should be added to a Performance Work Statement.

                                                                         The information contains deliberative material and is withheld
                                                                         per (b)(5) which protects the integrity of the deliberative or

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                                                                         decision-making processes within the agency by exempting
                                                                         from mandatory disclosure opinions, conclusions, and
                                                                         recommendations included within inter-agency or intra-
                                                                         agency memoranda or letters. ICE employees were
                                                                         discussing how classification specifications should be
                                                                         included in a contract document. The release of this internal
                                                                         information would discourage the expression of candid
                                                                         opinions and inhibit the free and frank exchange of
                                                                         information and ideas between agency personnel resulting in
                                                                         a chilling effect on intra- and inter-agency communications.
                                                                         The deliberative process privilege protects the internal
                                                                         deliberations of the government by exempting
                                                                         recommendations, analyses, and discussions undertaken to aid
                                                                         agency decision making. The privilege also prevents the
                                                                         premature disclosure of proposed policies, serves to avoid
                                                                         public confusion generated by rationales or decisions not
                                                                         ultimately adopted by an agency, and maintains the integrity
                                                                         of agency decision-making processes by encouraging open
                                                                         and candid discussions. Draft documents, by their nature, are
                                                                         pre-decisional and preliminary versions of what may later
                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.
2019-     1008-1020       Partial              (b)(5)                    Email titled “TASKING REQUEST – HSI NSID USE OF
ICLI-                                                                    FACEBOOK”
00017
                                                                         Redacted Information per (b)(5):

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                                                                    Partial redactions pursuant to FOIA Exemptions (b)(5) was
                                                                    used on a draft response and recommended edits to a draft
                                                                    response to a request for information from the Deputy
                                                                    Director of ICE on how ERO and HSI use Facebook data.

                                                                    The information contains deliberative material and is withheld
                                                                    per (b)(5) which protects the integrity of the deliberative or
                                                                    decision-making processes within the agency by exempting
                                                                    from mandatory disclosure opinions, conclusions, and
                                                                    recommendations included within inter-agency or intra-
                                                                    agency memoranda or letters. The language within these
                                                                    documents is in draft form, states that the information is a
                                                                    draft and the comments have been made by divisions within
                                                                    the Office of Homeland Security Investigations for the
                                                                    purpose of providing accurate information to the Deputy
                                                                    Director. The release of this internal information would
                                                                    discourage the expression of candid opinions and inhibit the
                                                                    free and frank exchange of information and ideas between
                                                                    agency personnel resulting in a chilling effect on intra- and
                                                                    inter-agency communications. The deliberative process
                                                                    privilege protects the internal deliberations of the government
                                                                    by exempting recommendations, analyses, and discussions
                                                                    undertaken to aid agency decision making. The privilege also
                                                                    prevents the premature disclosure of proposed policies, serves
                                                                    to avoid public confusion generated by rationales or decisions
                                                                    not ultimately adopted by an agency, and maintains the
                                                                    integrity of agency decision-making processes by

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                                                                         encouraging open and candid discussions. Draft documents,
                                                                         by their nature, are pre-decisional and preliminary versions of
                                                                         what may later become a final document in whole or in part.
                                                                         Oftentimes draft documents never evolve into a final form;
                                                                         material is withdrawn or discarded during the decision-
                                                                         making process.
2019-     1112-1113       Partial               (b)(5)                   Email titled “VSP Screeners Contract”
ICLI-
00017                                                                    Redacted Information per (b)(5):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(5) was
                                                                         used on discussions on whether or not to exercise options
                                                                         under a contract and the issues and recommendations
                                                                         surrounding that decision.

                                                                         The information contains deliberative material and is withheld
                                                                         per (b)(5) which protects the integrity of the deliberative or
                                                                         decision-making processes within the agency by exempting
                                                                         from mandatory disclosure opinions, conclusions, and
                                                                         recommendations included within inter-agency or intra-
                                                                         agency memoranda or letters. These records contain
                                                                         discussions between ICE employees expressing their opinions
                                                                         as to the right course of action in regard to exercising contract
                                                                         options. The release of this internal information would
                                                                         discourage the expression of candid opinions and inhibit the
                                                                         free and frank exchange of information and ideas between
                                                                         agency personnel resulting in a chilling effect on intra- and
                                                                         inter-agency communications. The deliberative process

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                                                                       privilege protects the internal deliberations of the government
                                                                       by exempting recommendations, analyses, and discussions
                                                                       undertaken to aid agency decision making. The privilege also
                                                                       prevents the premature disclosure of proposed policies, serves
                                                                       to avoid public confusion generated by rationales or decisions
                                                                       not ultimately adopted by an agency, and maintains the
                                                                       integrity of agency decision-making processes by
                                                                       encouraging open and candid discussions. Draft documents,
                                                                       by their nature, are pre-decisional and preliminary versions of
                                                                       what may later become a final document in whole or in part.
                                                                       Oftentimes draft documents never evolve into a final form;
                                                                       material is withdrawn or discarded during the decision-
                                                                       making process.
2019-     1114          Partial               (b)(5)                   Email titled “The availability of unattributable
ICLI-                                                                  Computers”
00017

                                                                       Redacted Information per (b)(5):
                                                                       Partial redactions pursuant to FOIA Exemption (b)(5) were
                                                                       used on discussions regarding issues with the analysts running
                                                                       programs, recommended solutions, how to work with the
                                                                       contractors to come to a solution.

                                                                       The information contains deliberative material and is withheld
                                                                       per (b)(5) which protects the integrity of the deliberative or
                                                                       decision-making processes within the agency by exempting
                                                                       from mandatory disclosure opinions, conclusions, and

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                                                                       recommendations included within inter-agency or intra-
                                                                       agency memoranda or letters. These records contain
                                                                       discussions between ICE employees expressing their opinions
                                                                       as to the right course of action in regard to issues with
                                                                       performance under a contract. The release of this internal
                                                                       information would discourage the expression of candid
                                                                       opinions and inhibit the free and frank exchange of
                                                                       information and ideas between agency personnel resulting in
                                                                       a chilling effect on intra- and inter-agency communications.
                                                                       The deliberative process privilege protects the internal
                                                                       deliberations of the government by exempting
                                                                       recommendations, analyses, and discussions undertaken to aid
                                                                       agency decision making. The privilege also prevents the
                                                                       premature disclosure of proposed policies, serves to avoid
                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.
2019-     1117- 1122    Partial              (b)(7)(E)                 Document titled “NSID – IO Budget Meeting”
ICLI-     1124-1129
00017                                                                  Redacted Information per (b)(7)(E):



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                                                                         Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                         applied to the location of targeted law enforcement
                                                                         operations.

                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         location where law enforcement operations are being targeted
                                                                         could assist a third party in circumventing the law by
                                                                         reducing illegal activities in these areas or disrupting these
                                                                         law enforcement operations. Disclosure of information not
                                                                         commonly known to the public could reasonably be expected
                                                                         to risk circumvention of the law. The disclosure of this law
                                                                         enforcement sensitive information serves no public benefit
                                                                         and would not assist the public in understanding how the
                                                                         agency is carrying out its statutory responsibilities.
2019-     1195-1218       Full                 (b)(5)                    Document titled: DHS Streamlined Acquisition Plan
ICLI-                                                                    Template
00017
                                                                         Redacted Information per (b)(5):
                                                                         2019-ICLI-00017.1195 through 2019-ICLI-00017.1128 is an
                                                                         initial, non-final draft of an Acquisition Plan, contains blank


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                                                                    signatures and was routed via email requesting suggested
                                                                    revisions.

                                                                    Reason for Redaction(s):
                                                                    FOIA exemption (b)(5) was applied to withhold the
                                                                    information contained in this draft document. This document
                                                                    was prepared by the ICE Office of Acquisition Management
                                                                    and was sent to the Office of Homeland Security
                                                                    Investigations fin anticipation of procuring a contract and is in
                                                                    draft form. The information contained in this document is
                                                                    withheld per (b)(5) which protects the integrity of the
                                                                    deliberative or decision-making processes within the agency
                                                                    by exempting from mandatory disclosure opinions,
                                                                    conclusions, and recommendations included within inter-
                                                                    agency or intra-agency memoranda or letters. The release of
                                                                    this internal information would discourage the expression of
                                                                    candid opinions and inhibit the free and frank exchange of
                                                                    information and ideas between agency personnel resulting in
                                                                    a chilling effect on intra- and inter-agency communications.
                                                                    The deliberative process privilege protects the internal
                                                                    deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open

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                                                                         and candid discussions. Draft documents, by their nature, are
                                                                         pre-decisional and preliminary versions of what may later
                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.

2019-     1229-1231       Full                 (b)(5)                    Document titled “Addendum for SCI Access – to DD 254
ICLI-                                                                    Processing”
00017
                                                                         Redacted Information per (b)(5):
                                                                         2019-ICLI-00017.1229 through 2019-ICLI-00017.1231 is an
                                                                         initial, non-final draft of an addendum to a contract.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in this draft document. This document
                                                                         contains tracked changes and is in draft form. The
                                                                         information contained in this document is withheld per (b)(5)
                                                                         which protects the integrity of the deliberative or decision-
                                                                         making processes within the agency by exempting from
                                                                         mandatory disclosure opinions, conclusions, and
                                                                         recommendations included within inter-agency or intra-
                                                                         agency memoranda or letters. The release of this internal
                                                                         information would discourage the expression of candid
                                                                         opinions and inhibit the free and frank exchange of
                                                                         information and ideas between agency personnel resulting in
                                                                         a chilling effect on intra- and inter-agency communications.

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                                                                         The deliberative process privilege protects the internal
                                                                         deliberations of the government by exempting
                                                                         recommendations, analyses, and discussions undertaken to aid
                                                                         agency decision making. The privilege also prevents the
                                                                         premature disclosure of proposed policies, serves to avoid
                                                                         public confusion generated by rationales or decisions not
                                                                         ultimately adopted by an agency, and maintains the integrity
                                                                         of agency decision-making processes by encouraging open
                                                                         and candid discussions. Draft documents, by their nature, are
                                                                         pre-decisional and preliminary versions of what may later
                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.
2019-     1249-1252       Full                 (b)(5)                    Document titled “Response to Request for Social Media
ICLI-                                                                    talking Points”
00017
                                                                         Redacted Information per (b)(5):
                                                                         2019-ICLI-00017.1249 through 2019-ICLI-00017.1252 is an
                                                                         initial, non-final draft of talking points.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in this draft document. This document
                                                                         contains tracked changes and comment bubbles and is in draft
                                                                         form. The information contained in this document is withheld
                                                                         per (b)(5) which protects the integrity of the deliberative or
                                                                         decision-making processes within the agency by exempting

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                                                                       from mandatory disclosure opinions, conclusions, and
                                                                       recommendations included within inter-agency or intra-
                                                                       agency memoranda or letters. The release of this internal
                                                                       information would discourage the expression of candid
                                                                       opinions and inhibit the free and frank exchange of
                                                                       information and ideas between agency personnel resulting in
                                                                       a chilling effect on intra- and inter-agency communications.
                                                                       The deliberative process privilege protects the internal
                                                                       deliberations of the government by exempting
                                                                       recommendations, analyses, and discussions undertaken to aid
                                                                       agency decision making. The privilege also prevents the
                                                                       premature disclosure of proposed policies, serves to avoid
                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.
2019-     1310          Partial              (b)(5)                    Document titled “Shared Services for Vetting Board
ICLI-                                                                  Recommendation”
00017
                                                                       Redacted Information per (b)(5):
                                                                       Partial redactions pursuant to FOIA exemption (b)(5) was
                                                                       applied to recommendations relating to the Social Media pilot
                                                                       program.

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                                                                    Reason for Redaction(s):
                                                                    FOIA exemption (b)(5) was applied to withhold the
                                                                    information contained in this draft document. This document
                                                                    contains deliberative discussions regarding the
                                                                    recommendations regarding making the pilot program more
                                                                    efficient, why an outside vetting board would be inefficient,
                                                                    and lessons learned of a pilot program that should be taken
                                                                    into account moving forward. The information contained in
                                                                    this document is withheld per (b)(5) which protects the
                                                                    integrity of the deliberative or decision-making processes
                                                                    within the agency by exempting from mandatory disclosure
                                                                    opinions, conclusions, and recommendations included within
                                                                    inter-agency or intra-agency memoranda or letters. The
                                                                    release of this internal information would discourage the
                                                                    expression of candid opinions and inhibit the free and frank
                                                                    exchange of information and ideas between agency personnel
                                                                    resulting in a chilling effect on intra- and inter-agency
                                                                    communications. The deliberative process privilege protects
                                                                    the internal deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are

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                                                                         pre-decisional and preliminary versions of what may later
                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.
2019-     1347-1349       Partial               (b)(7)(E)                Document titled “Extreme Vetting-Visa Security
ICLI-                                                                    Program-PATRIOT”
00017
                                                                         Redacted Information per (b)(7)(E):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                         applied to the challenges and recommendations regarding
                                                                         Program PATRIOT.

                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         challenges particular law enforcement programs have in
                                                                         implementation and how to solve those challenges could
                                                                         assist a third party in either employing counter methods to
                                                                         evade detection and/or disrupt the program. Disclosure of
                                                                         information not commonly known to the public could
                                                                         reasonably be expected to risk circumvention of the law. The
                                                                         disclosure of this law enforcement sensitive information
                                                                         serves no public benefit and would not assist the public in

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                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     1442-1459       Partial              (b)(5)                    Documents titled “Determination to Award Single source
ICLI-                                                                    BPA,” “Contract Type DF 04-13-2018 VSP & CTCEU
00017                                                                    Edits,” and “Contract Type DF_OCPO Comments”

                                                                         Redacted Information per (b)(5):
                                                                         2019-ICLI-00017.1442 through 2019-ICLI-00017.1459 is an
                                                                         initial, non-final draft of the titled documents.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in these draft documents. These
                                                                         documents were prepared by the ICE Office of Acquisition
                                                                         Management and was sent to divisions within the Office of
                                                                         Homeland Security Investigations for the purpose of securing
                                                                         comments and edits in anticipation of procuring a contract
                                                                         and are in draft form, contains highlighted areas, tracked
                                                                         changes and contains comment bubbles. The information
                                                                         contained in this document is withheld per (b)(5) which
                                                                         protects the integrity of the deliberative or decision-making
                                                                         processes within the agency by exempting from mandatory
                                                                         disclosure opinions, conclusions, and recommendations
                                                                         included within inter-agency or intra-agency memoranda or
                                                                         letters. The release of this internal information would
                                                                         discourage the expression of candid opinions and inhibit the
                                                                         free and frank exchange of information and ideas between

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                                                                         agency personnel resulting in a chilling effect on intra- and
                                                                         inter-agency communications. The deliberative process
                                                                         privilege protects the internal deliberations of the government
                                                                         by exempting recommendations, analyses, and discussions
                                                                         undertaken to aid agency decision making. The privilege also
                                                                         prevents the premature disclosure of proposed policies, serves
                                                                         to avoid public confusion generated by rationales or decisions
                                                                         not ultimately adopted by an agency, and maintains the
                                                                         integrity of agency decision-making processes by
                                                                         encouraging open and candid discussions. Draft documents,
                                                                         by their nature, are pre-decisional and preliminary versions of
                                                                         what may later become a final document in whole or in part.
                                                                         Oftentimes draft documents never evolve into a final form;
                                                                         material is withdrawn or discarded during the decision-
                                                                         making process.
2019-     1475-1488       Full                 (b)(5)                    Document titled “Visa Lifecycle Vetting Initiative (VLVI)
ICLI-                                                                    Quality Assurance Surveillance Plan”
00017
                                                                         Redacted Information per (b)(5):
                                                                         Pages 2019-ICLI-00017.1475 through 2019-ICLI-00017.1488
                                                                         was withheld in full under FOIA Exemption (b)(5) as this
                                                                         document is a draft.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in this draft document. This document
                                                                         was prepared by a unit within the Office of Homeland

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                                                                    Security Investigations and was sent for comments and edits
                                                                    from other divisions and contains tracked changes and
                                                                    comment bubbles and is in draft form. The information
                                                                    contained in this document is withheld per (b)(5) which
                                                                    protects the integrity of the deliberative or decision-making
                                                                    processes within the agency by exempting from mandatory
                                                                    disclosure opinions, conclusions, and recommendations
                                                                    included within inter-agency or intra-agency memoranda or
                                                                    letters. The release of this internal information would
                                                                    discourage the expression of candid opinions and inhibit the
                                                                    free and frank exchange of information and ideas between
                                                                    agency personnel resulting in a chilling effect on intra- and
                                                                    inter-agency communications. The deliberative process
                                                                    privilege protects the internal deliberations of the government
                                                                    by exempting recommendations, analyses, and discussions
                                                                    undertaken to aid agency decision making. The privilege also
                                                                    prevents the premature disclosure of proposed policies, serves
                                                                    to avoid public confusion generated by rationales or decisions
                                                                    not ultimately adopted by an agency, and maintains the
                                                                    integrity of agency decision-making processes by
                                                                    encouraging open and candid discussions. Draft documents,
                                                                    by their nature, are pre-decisional and preliminary versions of
                                                                    what may later become a final document in whole or in part.
                                                                    Oftentimes draft documents never evolve into a final form;
                                                                    material is withdrawn or discarded during the decision-
                                                                    making process.


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2019-     1490-1511     Full                 (b)(5)                    Document titled “Visa Lifecycle Vetting Initiative (VLVI)
ICLI-     1633-1655                                                    Streamlined Acquisition Plan”
00017
                                                                       Redacted Information per (b)(5):
                                                                       Pages 2019-ICLI-00017.1490 through 2019-ICLI-00017.1511
                                                                       was withheld in full under FOIA Exemption (b)(5) as this
                                                                       document is an initial, non-final draft of an Acquisition Plan.

                                                                       Reason for Redaction(s):
                                                                       FOIA exemption (b)(5) was applied to withhold the
                                                                       information contained in this draft document. This document
                                                                       was prepared by a division within the Office of Homeland
                                                                       Security Investigations and was sent to other divisions within
                                                                       for the purpose of securing comments and edits in anticipation
                                                                       of procuring a contract and is in draft form. The information
                                                                       contained in this document is withheld per (b)(5) which
                                                                       protects the integrity of the deliberative or decision-making
                                                                       processes within the agency by exempting from mandatory
                                                                       disclosure opinions, conclusions, and recommendations
                                                                       included within inter-agency or intra-agency memoranda or
                                                                       letters. The release of this internal information would
                                                                       discourage the expression of candid opinions and inhibit the
                                                                       free and frank exchange of information and ideas between
                                                                       agency personnel resulting in a chilling effect on intra- and
                                                                       inter-agency communications. The deliberative process
                                                                       privilege protects the internal deliberations of the government
                                                                       by exempting recommendations, analyses, and discussions

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                                                                         undertaken to aid agency decision making. The privilege also
                                                                         prevents the premature disclosure of proposed policies, serves
                                                                         to avoid public confusion generated by rationales or decisions
                                                                         not ultimately adopted by an agency, and maintains the
                                                                         integrity of agency decision-making processes by
                                                                         encouraging open and candid discussions. Draft documents,
                                                                         by their nature, are pre-decisional and preliminary versions of
                                                                         what may later become a final document in whole or in part.
                                                                         Oftentimes draft documents never evolve into a final form;
                                                                         material is withdrawn or discarded during the decision-
                                                                         making process.


2019-     1512-1513       Partial               (b)(5)                   Email titled “Phase 1 Evaluation Plan”
ICLI-     1573-1575
00017                                                                    Redacted Information per (b)(5):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in this document regarding a VLVI
                                                                         streamlined acquisition plan, different approaches to staffing,
                                                                         transition, and key personnel.

                                                                         Reason for the Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in this email that contains plans and
                                                                         recommendations regarding the procurement of a contract.
                                                                         The information contained in this document is withheld per
                                                                         (b)(5) which protects the integrity of the deliberative or

                                                                   34
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                                                                       decision-making processes within the agency by exempting
                                                                       from mandatory disclosure opinions, conclusions, and
                                                                       recommendations included within inter-agency or intra-
                                                                       agency memoranda or letters. The release of this internal
                                                                       information would discourage the expression of candid
                                                                       opinions and inhibit the free and frank exchange of
                                                                       information and ideas between agency personnel resulting in
                                                                       a chilling effect on intra- and inter-agency communications.
                                                                       The deliberative process privilege protects the internal
                                                                       deliberations of the government by exempting
                                                                       recommendations, analyses, and discussions undertaken to aid
                                                                       agency decision making. The privilege also prevents the
                                                                       premature disclosure of proposed policies, serves to avoid
                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.
2019-     1521-1524-    Partial               (b)(7)(E)                Document titled “Attachment A Performance Work
ICLI-                                                                  Statement”
00017
                                                                       Redacted Information per (b)(7)(E):
                                                                       Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                       applied to the law enforcement objectives to be accomplished

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                                                                    under the terms of the contract, including the mode and
                                                                    methods used to conduct law enforcement investigations.

                                                                    Reason for Redaction
                                                                    Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                    information, the release of which could reveal techniques
                                                                    and/or procedures for law enforcement investigations or
                                                                    prosecutions, or disclose guidelines for law enforcement
                                                                    investigations or prosecutions which could reasonably be
                                                                    expected to risk circumvention of the law. Disclosure of the
                                                                    requested modes and methods used to assist in law
                                                                    enforcement investigations under the contract could assist a
                                                                    third party in either employing counter methods to evade
                                                                    detection and/or disrupt the operation. Disclosure of
                                                                    information not commonly known to the public could
                                                                    reasonably be expected to risk circumvention of the law. The
                                                                    disclosure of this law enforcement sensitive information
                                                                    serves no public benefit and would not assist the public in
                                                                    understanding how the agency is carrying out its statutory
                                                                    responsibilities.

                                                                    Redacted Information per (b)(5):
                                                                    FOIA exemption (b)(5) was applied to draft deliverable
                                                                    schedules and clarification requests contained within this
                                                                    document.

                                                                    Reason for the Redaction(s):

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                                                                    FOIA exemption (b)(5) was applied to withhold the
                                                                    information contained in this document that is a draft and
                                                                    contains highlights and strikethroughs. The information
                                                                    contained in this document is withheld per (b)(5) which
                                                                    protects the integrity of the deliberative or decision-making
                                                                    processes within the agency by exempting from mandatory
                                                                    disclosure opinions, conclusions, and recommendations
                                                                    included within inter-agency or intra-agency memoranda or
                                                                    letters. The release of this internal information would
                                                                    discourage the expression of candid opinions and inhibit the
                                                                    free and frank exchange of information and ideas between
                                                                    agency personnel resulting in a chilling effect on intra- and
                                                                    inter-agency communications. The deliberative process
                                                                    privilege protects the internal deliberations of the government
                                                                    by exempting recommendations, analyses, and discussions
                                                                    undertaken to aid agency decision making. The privilege also
                                                                    prevents the premature disclosure of proposed policies, serves
                                                                    to avoid public confusion generated by rationales or decisions
                                                                    not ultimately adopted by an agency, and maintains the
                                                                    integrity of agency decision-making processes by
                                                                    encouraging open and candid discussions. Draft documents,
                                                                    by their nature, are pre-decisional and preliminary versions of
                                                                    what may later become a final document in whole or in part.
                                                                    Oftentimes draft documents never evolve into a final form;
                                                                    material is withdrawn or discarded during the decision-
                                                                    making process.


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2019-     1577-1580     Full                 (b)(5)                    Document titled “Past Performance Questionnaire”
ICLI-
00017                                                                  Redacted Information per (b)(5):
                                                                       Pages 2019-ICLI-00017.1578 through 2019-ICLI-00017.1580
                                                                       was withheld in full as this is an initial non final draft
                                                                       document.

                                                                       Reason for the Redaction(s):
                                                                       FOIA exemption (b)(5) was applied to withhold the
                                                                       information contained in this draft document. This document
                                                                       contains gaps of information, missing fields that have yet to
                                                                       be inputted and have been sent for the purposes of securing
                                                                       the missing information. The information contained in this
                                                                       document is withheld per (b)(5) which protects the integrity
                                                                       of the deliberative or decision-making processes within the
                                                                       agency by exempting from mandatory disclosure opinions,
                                                                       conclusions, and recommendations included within inter-
                                                                       agency or intra-agency memoranda or letters. The release of
                                                                       this internal information would discourage the expression of
                                                                       candid opinions and inhibit the free and frank exchange of
                                                                       information and ideas between agency personnel resulting in
                                                                       a chilling effect on intra- and inter-agency communications.
                                                                       The deliberative process privilege protects the internal
                                                                       deliberations of the government by exempting
                                                                       recommendations, analyses, and discussions undertaken to aid
                                                                       agency decision making. The privilege also prevents the
                                                                       premature disclosure of proposed policies, serves to avoid

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                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.


2019-     1581-1603,    Full                 (b)(5)                    Document titled “DHS, ICE, TEP, Visa Lifecycle Vetting
ICLI-     1685-1707                                                    Initiative Feb. 15, 2018”
00017
                                                                       Redacted Information per (b)(5):
                                                                       Pages 2019-ICLI-00017.1581 through 2019-ICLI-00017.1603
                                                                       and 2019-ICLI-00017.1685 through 2019-ICLI-00017.1707
                                                                       was withheld in full under FOIA Exemption (b)(5) as this
                                                                       document is an initial, non-final draft of an Acquisition Plan.

                                                                       Reason for Redaction(s):
                                                                       FOIA exemption (b)(5) was applied to withhold the
                                                                       information contained in this draft document. This document
                                                                       was prepared in anticipation of procuring a contract and is in
                                                                       draft form and contains tracked changes and comment
                                                                       bubbles. The information contained in this document is
                                                                       withheld per (b)(5) which protects the integrity of the
                                                                       deliberative or decision-making processes within the agency

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                                                                         by exempting from mandatory disclosure opinions,
                                                                         conclusions, and recommendations included within inter-
                                                                         agency or intra-agency memoranda or letters. The release of
                                                                         this internal information would discourage the expression of
                                                                         candid opinions and inhibit the free and frank exchange of
                                                                         information and ideas between agency personnel resulting in
                                                                         a chilling effect on intra- and inter-agency communications.
                                                                         The deliberative process privilege protects the internal
                                                                         deliberations of the government by exempting
                                                                         recommendations, analyses, and discussions undertaken to aid
                                                                         agency decision making. The privilege also prevents the
                                                                         premature disclosure of proposed policies, serves to avoid
                                                                         public confusion generated by rationales or decisions not
                                                                         ultimately adopted by an agency, and maintains the integrity
                                                                         of agency decision-making processes by encouraging open
                                                                         and candid discussions. Draft documents, by their nature, are
                                                                         pre-decisional and preliminary versions of what may later
                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.


2019-     1621-1625       Partial              (b)(5)                    Document titled “Quality Assurance Surveillance Plan
ICLI-                                                                    March 2018”
00017
                                                                         Redacted Information per (b)(5):


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                                                                    FOIA exemption (b)(5) was applied to withhold the draft
                                                                    portions of this document.

                                                                    Reason for the Redaction(s):
                                                                    FOIA exemption (b)(5) was applied to withhold the initial
                                                                    non final draft document that was used as a templet for
                                                                    creating a Quality Assurance Surveillance Plan in anticipation
                                                                    of securing a contract. The information contained in this
                                                                    document is withheld per (b)(5) which protects the integrity
                                                                    of the deliberative or decision-making processes within the
                                                                    agency by exempting from mandatory disclosure opinions,
                                                                    conclusions, and recommendations included within inter-
                                                                    agency or intra-agency memoranda or letters. The release of
                                                                    this internal information would discourage the expression of
                                                                    candid opinions and inhibit the free and frank exchange of
                                                                    information and ideas between agency personnel resulting in
                                                                    a chilling effect on intra- and inter-agency communications.
                                                                    The deliberative process privilege protects the internal
                                                                    deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are
                                                                    pre-decisional and preliminary versions of what may later

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                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.


2019-     1662-1677       Full                 (b)(5)                    Document titled “Determination to Award Single Source
ICLI-                                                                    BPA”
00017
                                                                         Redacted Information per (b)(5):
                                                                         Pages 2019-ICLI-00017.1662 through 2019-ICLI-00017.1677
                                                                         was withheld in full under FOIA Exemption (b)(5) as this
                                                                         document is an initial, non-final draft of a determination on a
                                                                         contract award.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in this draft document. This document
                                                                         was prepared in anticipation of procuring a contract and is in
                                                                         draft form and contains tracked changes and comment
                                                                         bubbles. The information contained in this document is
                                                                         withheld per (b)(5) which protects the integrity of the
                                                                         deliberative or decision-making processes within the agency
                                                                         by exempting from mandatory disclosure opinions,
                                                                         conclusions, and recommendations included within inter-
                                                                         agency or intra-agency memoranda or letters. The release of
                                                                         this internal information would discourage the expression of
                                                                         candid opinions and inhibit the free and frank exchange of

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                                                                         information and ideas between agency personnel resulting in
                                                                         a chilling effect on intra- and inter-agency communications.
                                                                         The deliberative process privilege protects the internal
                                                                         deliberations of the government by exempting
                                                                         recommendations, analyses, and discussions undertaken to aid
                                                                         agency decision making. The privilege also prevents the
                                                                         premature disclosure of proposed policies, serves to avoid
                                                                         public confusion generated by rationales or decisions not
                                                                         ultimately adopted by an agency, and maintains the integrity
                                                                         of agency decision-making processes by encouraging open
                                                                         and candid discussions. Draft documents, by their nature, are
                                                                         pre-decisional and preliminary versions of what may later
                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.
2019-     1680-1681       Partial               (b)(7)(E)                Document titled “Visa Lifecycle Initiative Summary
ICLI-
00017
                                                                         Redacted Information per (b)(7)(E):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                         applied to a summary of the investigative steps taken in law
                                                                         enforcement investigations where the subjects were
                                                                         eventually arrested as a result of the investigation.

                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques

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                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         investigative steps taken by law enforcement could assist a
                                                                         third party in countering those law enforcement efforts and/or
                                                                         disrupting the investigations. Disclosure of information not
                                                                         commonly known to the public could reasonably be expected
                                                                         to risk circumvention of the law. The disclosure of this law
                                                                         enforcement sensitive information serves no public benefit
                                                                         and would not assist the public in understanding how the
                                                                         agency is carrying out its statutory responsibilities.
2019-     1709-1714       Partial              (b)(5)                    Document titled: “FY 2018 TEOF Request, HIS, NSID,
ICLI-                                                                    VSCC, Social Media Vetting Pilot Program Funding
00017                                                                    Request”

                                                                         Redacted Information per (b)(5):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(5) was
                                                                         used on internal discussions contained within this document
                                                                         regarding anticipated budget expenses and funds requested.

                                                                         The information contains deliberative material and is withheld
                                                                         per (b)(5) which protects the integrity of the deliberative or
                                                                         decision-making processes within the agency by exempting
                                                                         from mandatory disclosure opinions, conclusions, and
                                                                         recommendations included within inter-agency or intra-
                                                                         agency memoranda or letters. ICE employees were

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                                                                       discussing funding requests and anticipated budgets that
                                                                       should be requested or anticipated. The release of this
                                                                       internal information would discourage the expression of
                                                                       candid opinions and inhibit the free and frank exchange of
                                                                       information and ideas between agency personnel resulting in
                                                                       a chilling effect on intra- and inter-agency communications.
                                                                       The deliberative process privilege protects the internal
                                                                       deliberations of the government by exempting
                                                                       recommendations, analyses, and discussions undertaken to aid
                                                                       agency decision making. The privilege also prevents the
                                                                       premature disclosure of proposed policies, serves to avoid
                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.
2019-     1761          Partial               (b)(5)                   Email titled “Companies for Market Research”
ICLI-
00017                                                                  Redacted Information per (b)(5):
                                                                       FOIA exemption (b)(5) was applied to withhold discussions
                                                                       regarding potential recommendations on which companies
                                                                       should be solicited by ICE to provide contracts. .

                                                                       Reason for the Redaction(s):

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                                                                    FOIA exemption (b)(5) was applied to withhold internal
                                                                    discussions regarding what companies ICE employees
                                                                    believed should be solicited for a contract. The information
                                                                    contained in this document is withheld per (b)(5) which
                                                                    protects the integrity of the deliberative or decision-making
                                                                    processes within the agency by exempting from mandatory
                                                                    disclosure opinions, conclusions, and recommendations
                                                                    included within inter-agency or intra-agency memoranda or
                                                                    letters. The release of this internal information would
                                                                    discourage the expression of candid opinions and inhibit the
                                                                    free and frank exchange of information and ideas between
                                                                    agency personnel resulting in a chilling effect on intra- and
                                                                    inter-agency communications. The deliberative process
                                                                    privilege protects the internal deliberations of the government
                                                                    by exempting recommendations, analyses, and discussions
                                                                    undertaken to aid agency decision making. The privilege also
                                                                    prevents the premature disclosure of proposed policies, serves
                                                                    to avoid public confusion generated by rationales or decisions
                                                                    not ultimately adopted by an agency, and maintains the
                                                                    integrity of agency decision-making processes by
                                                                    encouraging open and candid discussions. Draft documents,
                                                                    by their nature, are pre-decisional and preliminary versions of
                                                                    what may later become a final document in whole or in part.
                                                                    Oftentimes draft documents never evolve into a final form;
                                                                    material is withdrawn or discarded during the decision-
                                                                    making process.


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            Number)
2019-     1763-1786     Full                 (b)(5)                    Document titled: “DHS Streamlined Acquisition Plan
ICLI-                                                                  Template Visa lifecycle vetting initiative, Feb. 28, 2018
00017
                                                                       Redacted Information per (b)(5):
                                                                       Pages 2019-ICLI-00017.1763 through 2019-ICLI-00017.1786
                                                                       was withheld in full under FOIA Exemption (b)(5) as this
                                                                       document is an initial, non-final draft of an Acquisition Plan.

                                                                       Reason for Redaction(s):
                                                                       FOIA exemption (b)(5) was applied to withhold the
                                                                       information contained in this draft document. This document
                                                                       was prepared in anticipation of procuring a contract and is in
                                                                       draft form and contains tracked changes and comment
                                                                       bubbles. The information contained in this document is
                                                                       withheld per (b)(5) which protects the integrity of the
                                                                       deliberative or decision-making processes within the agency
                                                                       by exempting from mandatory disclosure opinions,
                                                                       conclusions, and recommendations included within inter-
                                                                       agency or intra-agency memoranda or letters. The release of
                                                                       this internal information would discourage the expression of
                                                                       candid opinions and inhibit the free and frank exchange of
                                                                       information and ideas between agency personnel resulting in
                                                                       a chilling effect on intra- and inter-agency communications.
                                                                       The deliberative process privilege protects the internal
                                                                       deliberations of the government by exempting
                                                                       recommendations, analyses, and discussions undertaken to aid
                                                                       agency decision making. The privilege also prevents the

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                                                                       premature disclosure of proposed policies, serves to avoid
                                                                       public confusion generated by rationales or decisions not
                                                                       ultimately adopted by an agency, and maintains the integrity
                                                                       of agency decision-making processes by encouraging open
                                                                       and candid discussions. Draft documents, by their nature, are
                                                                       pre-decisional and preliminary versions of what may later
                                                                       become a final document in whole or in part. Oftentimes
                                                                       draft documents never evolve into a final form; material is
                                                                       withdrawn or discarded during the decision-making process.


2019-     1791          Partial               (b)(5)                   Memorandum Regarding Request for Contract
ICLI-                                                                  Modification
00017

                                                                       Redacted Information per (b)(5):
                                                                       FOIA exemption (b)(5) was applied to discussions regarding
                                                                       a request to modify a contract.

                                                                       Reason for the Redaction(s):
                                                                       FOIA exemption (b)(5) was applied to withhold internal
                                                                       discussions between a program analyst and the Executive
                                                                       Director regarding recommendations, comments, and
                                                                       concerns regarding a request to modify a contract. The
                                                                       information contained in this document is withheld per (b)(5)
                                                                       which protects the integrity of the deliberative or decision-
                                                                       making processes within the agency by exempting from

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                                                                         mandatory disclosure opinions, conclusions, and
                                                                         recommendations included within inter-agency or intra-
                                                                         agency memoranda or letters. The release of this internal
                                                                         information would discourage the expression of candid
                                                                         opinions and inhibit the free and frank exchange of
                                                                         information and ideas between agency personnel resulting in
                                                                         a chilling effect on intra- and inter-agency communications.
                                                                         The deliberative process privilege protects the internal
                                                                         deliberations of the government by exempting
                                                                         recommendations, analyses, and discussions undertaken to aid
                                                                         agency decision making. The privilege also prevents the
                                                                         premature disclosure of proposed policies, serves to avoid
                                                                         public confusion generated by rationales or decisions not
                                                                         ultimately adopted by an agency, and maintains the integrity
                                                                         of agency decision-making processes by encouraging open
                                                                         and candid discussions. Draft documents, by their nature, are
                                                                         pre-decisional and preliminary versions of what may later
                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.
2019-     1792-1802       Partial               (b)(7)(E)                Document titled “Determination Template” with
ICLI-                                                                    Attachments
00017

                                                                         Redacted Information per (b)(7)(E):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                         applied to discussions regarding the number of law

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                                                                         enforcement employees assigned to a law enforcement
                                                                         operation as well as the law enforcement employee’s training,
                                                                         experience, and expertise.

                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of
                                                                         number of law enforcement employees and their training
                                                                         could assist a third party in determining how to best counter
                                                                         or evade the law enforcement operation. Disclosure of
                                                                         information not commonly known to the public could
                                                                         reasonably be expected to risk circumvention of the law. The
                                                                         disclosure of this law enforcement sensitive information
                                                                         serves no public benefit and would not assist the public in
                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     1812-1813       Partial              (b)(7)(E)                 Document titled “ Open Source/Social Media
ICLI-                                                                    Exploitation”
00017
                                                                         Redacted Information per (b)(7)(E):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                         used on tactics used with open source research for locating
                                                                         and researching law enforcement suspects and other

                                                                   50
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                                                                                     investigative procedures and steps used to conduct open
                                                                                     source investigations.

                                                                                     Reason for Redaction
                                                                                     Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                                     information, the release of which could reveal techniques
                                                                                     and/or procedures for law enforcement investigations or
                                                                                     prosecutions, or disclose guidelines for law enforcement
                                                                                     investigations or prosecutions which could reasonably be
                                                                                     expected to risk circumvention of the law. Disclosure of the
                                                                                     techniques and procedures law enforcement officers are
                                                                                     instructed to use when conducting open source research could
                                                                                     assist third parties in circumventing the law and avoid
                                                                                     detection by providing insight into what steps could be taken
                                                                                     to counter these techniques and procedures. Disclosure of
                                                                                     information not commonly known to the public could
                                                                                     reasonably be expected to risk circumvention of the law. The
                                                                                     disclosure of this law enforcement sensitive information
                                                                                     serves no public benefit and would not assist the public in
                                                                                     understanding how the agency is carrying out its statutory
                                                                                     responsibilities.
    2019-          1814-1817          Partial               (b)(7)(E)3               Memorandum Regarding the Notification of intent to
    ICLI-                                                                            create and Internet Open-Source Exploitation Team
    00017


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    The redactions withheld under FOIA Exemption (b)(5) in these pages should have been withheld under FOIA Exemption (b)(7)(E).

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                                                                    Redacted Information per (b)(7)(E):
                                                                    Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                    used on tactics using open source research for locating and
                                                                    researching law enforcement suspects and other investigative
                                                                    procedures and steps used to conduct open source
                                                                    investigations.

                                                                    Reason for Redaction
                                                                    Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                    information, the release of which could reveal techniques
                                                                    and/or procedures for law enforcement investigations or
                                                                    prosecutions, or disclose guidelines for law enforcement
                                                                    investigations or prosecutions which could reasonably be
                                                                    expected to risk circumvention of the law. Disclosure of the
                                                                    techniques and procedures law enforcement officers are
                                                                    instructed to use when conducting open source research could
                                                                    assist third parties in circumventing the law and avoid
                                                                    detection by providing insight into what steps could be taken
                                                                    to counter these techniques and procedures. Disclosure of
                                                                    information not commonly known to the public could
                                                                    reasonably be expected to risk circumvention of the law. The
                                                                    disclosure of this law enforcement sensitive information
                                                                    serves no public benefit and would not assist the public in
                                                                    understanding how the agency is carrying out its statutory
                                                                    responsibilities.



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2019-     1818-1826     Partial               (b)(7)(E)                Document titled “Counterterrorism and Criminal
ICLI-     1964-1965                                                    Exploitation Unit Open Source/Social Media
00017                                                                  Exploitation”

                                                                       Redacted Information per (b)(7)(E):
                                                                       Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                       used on tactics used in open source research for locating and
                                                                       researching law enforcement suspects, locations targeted
                                                                       during law enforcement operations, and other investigative
                                                                       procedures and steps used to conduct open source
                                                                       investigations.

                                                                       Reason for Redaction
                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques
                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be
                                                                       expected to risk circumvention of the law. Disclosure of the
                                                                       techniques and procedures law enforcement officers are
                                                                       instructed to use when conducting open source research could
                                                                       assist third parties in circumventing the law and avoid
                                                                       detection by providing insight into what steps could be taken
                                                                       to counter these techniques and procedures. Disclosure of
                                                                       information not commonly known to the public could
                                                                       reasonably be expected to risk circumvention of the law. The
                                                                       disclosure of this law enforcement sensitive information

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                                                                                       serves no public benefit and would not assist the public in
                                                                                       understanding how the agency is carrying out its statutory
                                                                                       responsibilities.
    2019-          1827-1828            Full                  (b)(5), (b)(7)(E)4       Document titled “ Visa Security Program Social Media
    ICLI-                                                                              Pilot Program”
    00017
                                                                                       Redacted Information per (b)(5):
                                                                                       Pages 2019-ICLI-00017.1827 through 2019-ICLI-00017.1828
                                                                                       was withheld in full under FOIA Exemption (b)(5) as this
                                                                                       document is an initial, non-final draft of pertaining to the
                                                                                       initiation of the Visa Security Program Social Medial Pilot
                                                                                       Program and contains deliberative discussions regarding
                                                                                       whether to continue the Social Media Pilot Program.

                                                                                       Reason for Redaction(s):
                                                                                       FOIA exemption (b)(5) was applied to withhold the
                                                                                       information contained in this draft document. This document
                                                                                       was prepared in anticipation of continuing the social media
                                                                                       program, contins a draft watermark, and discusses the
                                                                                       recommendations for moving forward with the program. The
                                                                                       information contained in this document is withheld per (b)(5)
                                                                                       which protects the integrity of the deliberative or decision-
                                                                                       making processes within the agency by exempting from
                                                                                       mandatory disclosure opinions, conclusions, and
                                                                                       recommendations included within inter-agency or intra-

4
    ICE originally only claimed FOIA Exemption (b)(5) to this draft document, however, ICE is also claiming FOIA Exemption (b)(7)(E).

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                                                                    agency memoranda or letters. The release of this internal
                                                                    information would discourage the expression of candid
                                                                    opinions and inhibit the free and frank exchange of
                                                                    information and ideas between agency personnel resulting in
                                                                    a chilling effect on intra- and inter-agency communications.
                                                                    The deliberative process privilege protects the internal
                                                                    deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are
                                                                    pre-decisional and preliminary versions of what may later
                                                                    become a final document in whole or in part. Oftentimes
                                                                    draft documents never evolve into a final form; material is
                                                                    withdrawn or discarded during the decision-making process.

                                                                    Redacted Information per (b)(7)(E):
                                                                    Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                    used on tactics using open source research for locating and
                                                                    researching law enforcement suspects, locations targeted
                                                                    during law enforcement operations, and other investigative
                                                                    procedures and steps used to conduct open source
                                                                    investigations.


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                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         techniques and procedures law enforcement officers are
                                                                         instructed to use when conducting open source research could
                                                                         assist third parties in circumventing the law and avoid
                                                                         detection by providing insight into what steps could be taken
                                                                         to counter these techniques and procedures. Disclosure of
                                                                         information not commonly known to the public could
                                                                         reasonably be expected to risk circumvention of the law. The
                                                                         disclosure of this law enforcement sensitive information
                                                                         serves no public benefit and would not assist the public in
                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     1829-1877       Full                 (b)(5), (b)(7)(E)         Document titled “Open Source Training Manual”
ICLI-
00017                                                                    Redacted Information per (b)(5):
                                                                         Pages 2019-ICLI-00017.1829 through 2019-ICLI-00017.1877
                                                                         was withheld in full under FOIA Exemption (b)(5) as this
                                                                         document is an initial, non-final draft of the Open Source
                                                                         Training Manual.

                                                                         Reason for Redaction(s):

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                                                                    FOIA exemption (b)(5) was applied to withhold the
                                                                    information contained in this draft document. This document
                                                                    was prepared to teach law enforcement agents how to use
                                                                    open source information during the course of their
                                                                    investigations and contains tracked changes and comment
                                                                    bubbles. The information contained in this document is
                                                                    withheld per (b)(5) which protects the integrity of the
                                                                    deliberative or decision-making processes within the agency
                                                                    by exempting from mandatory disclosure opinions,
                                                                    conclusions, and recommendations included within inter-
                                                                    agency or intra-agency memoranda or letters. The release of
                                                                    this internal information would discourage the expression of
                                                                    candid opinions and inhibit the free and frank exchange of
                                                                    information and ideas between agency personnel resulting in
                                                                    a chilling effect on intra- and inter-agency communications.
                                                                    The deliberative process privilege protects the internal
                                                                    deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are
                                                                    pre-decisional and preliminary versions of what may later
                                                                    become a final document in whole or in part. Oftentimes


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                                                                    draft documents never evolve into a final form; material is
                                                                    withdrawn or discarded during the decision-making process.

                                                                    Redacted Information per (b)(7)(E):
                                                                    Pages 2019-ICLI-00017.1829 through 2019-ICLI-00017.1877
                                                                    was withheld in full under FOIA Exemption (b)(7)(E) as the
                                                                    document is the manual for how Homeland Security
                                                                    Investigations law enforcement agents conduct open source
                                                                    research during law enforcement investigations.

                                                                    Reason for Redaction
                                                                    Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                    information, the release of which could reveal techniques
                                                                    and/or procedures for law enforcement investigations or
                                                                    prosecutions, or disclose guidelines for law enforcement
                                                                    investigations or prosecutions which could reasonably be
                                                                    expected to risk circumvention of the law. Disclosure of the
                                                                    techniques and procedures law enforcement officers are
                                                                    instructed to use when conducting open source research could
                                                                    assist third parties in circumventing the law and avoid
                                                                    detection by providing insight into what steps could be taken
                                                                    to counter these techniques and procedures. Disclosure of
                                                                    information not commonly known to the public could
                                                                    reasonably be expected to risk circumvention of the law. The
                                                                    disclosure of this law enforcement sensitive information
                                                                    serves no public benefit and would not assist the public in


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                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     1878-1879       Full                  (b)(5)                   Document titled U.S. Immigration and Customs
ICLI-                                                                    Enforcement Response to White House Report on U.S.
00017                                                                    Strategy to Combat Terrorists’ and Terrorist
                                                                         organizations’ Use of Social Media

                                                                         Redacted Information per (b)(5):
                                                                         Pages 2019-ICLI-00017.1878 through 2019-ICLI-00017.1879
                                                                         was withheld in full under FOIA Exemption (b)(5) as this
                                                                         document is an initial, non-final draft containing questions
                                                                         and potential answers to questions posed in White House
                                                                         Report.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in this draft document. This document
                                                                         was prepared to address questions raised by a White House
                                                                         Report and does not contain the final statements ICE made to
                                                                         address these questions. The information contained in this
                                                                         document is withheld per (b)(5) which protects the integrity
                                                                         of the deliberative or decision-making processes within the
                                                                         agency by exempting from mandatory disclosure opinions,
                                                                         conclusions, and recommendations included within inter-
                                                                         agency or intra-agency memoranda or letters. The release of
                                                                         this internal information would discourage the expression of
                                                                         candid opinions and inhibit the free and frank exchange of

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                                                                         information and ideas between agency personnel resulting in
                                                                         a chilling effect on intra- and inter-agency communications.
                                                                         The deliberative process privilege protects the internal
                                                                         deliberations of the government by exempting
                                                                         recommendations, analyses, and discussions undertaken to aid
                                                                         agency decision making. The privilege also prevents the
                                                                         premature disclosure of proposed policies, serves to avoid
                                                                         public confusion generated by rationales or decisions not
                                                                         ultimately adopted by an agency, and maintains the integrity
                                                                         of agency decision-making processes by encouraging open
                                                                         and candid discussions. Draft documents, by their nature, are
                                                                         pre-decisional and preliminary versions of what may later
                                                                         become a final document in whole or in part. Oftentimes
                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.
2019-     1880-1887       Full                  (b)(5)                   Memorandum Regarding Request for Authorization to
ICLI-                                                                    Use Funds to Provide Training for Analysts Conducting
00017                                                                    Open Source Research

                                                                         Redacted Information per (b)(5):
                                                                         Pages 2019-ICLI-00017.1880 through 2019-ICLI-00017.1888
                                                                         was withheld in full under FOIA Exemption (b)(5) as these
                                                                         documents are an initial, non-final unsigned drafts requesting
                                                                         funds.

                                                                         Reason for Redaction(s):


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                                                                    FOIA exemption (b)(5) was applied to withhold the
                                                                    information contained in this draft document. This document
                                                                    was prepared to request funding for training and is unsigned.
                                                                    The information contained in this document is withheld per
                                                                    (b)(5) which protects the integrity of the deliberative or
                                                                    decision-making processes within the agency by exempting
                                                                    from mandatory disclosure opinions, conclusions, and
                                                                    recommendations included within inter-agency or intra-
                                                                    agency memoranda or letters. The release of this internal
                                                                    information would discourage the expression of candid
                                                                    opinions and inhibit the free and frank exchange of
                                                                    information and ideas between agency personnel resulting in
                                                                    a chilling effect on intra- and inter-agency communications.
                                                                    The deliberative process privilege protects the internal
                                                                    deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are
                                                                    pre-decisional and preliminary versions of what may later
                                                                    become a final document in whole or in part. Oftentimes
                                                                    draft documents never evolve into a final form; material is
                                                                    withdrawn or discarded during the decision-making process.


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2019-     1888-1890     Partial               (b)(7)(E)                Document titled “Open Source Analyst Training
ICLI-                                                                  Documents”
00017

                                                                       Redacted Information per (b)(7)(E):
                                                                       Partial redactions pursuant to FOIA Exemption (b)(7)(E) was
                                                                       used on the training materials for how Homeland Security
                                                                       Investigations law enforcement analysts conduct open source
                                                                       research during law enforcement investigations.

                                                                       Reason for Redaction
                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques
                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be
                                                                       expected to risk circumvention of the law. Disclosure of the
                                                                       techniques and procedures law enforcement officers are
                                                                       instructed to use when conducting open source research could
                                                                       assist third parties in circumventing the law and avoid
                                                                       detection by providing insight into what steps could be taken
                                                                       to counter these techniques and procedures. Disclosure of
                                                                       information not commonly known to the public could
                                                                       reasonably be expected to risk circumvention of the law. The
                                                                       disclosure of this law enforcement sensitive information
                                                                       serves no public benefit and would not assist the public in


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                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     1891-1959       Partial              (b)(5)(b)(7)(E)           Document titled “Open Source Team Standard
ICLI-                                                                    Operational Procedure”
00017
                                                                         Redacted Information per (b)(5):
                                                                         Pages 2019-ICLI-00017.1891 through 2019-ICLI-00017.1959
                                                                         was withheld in full under FOIA Exemption (b)(5) as this
                                                                         document is an initial, non-final draft of the Open Source
                                                                         Training Manual for Standard Operating Procedures.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         information contained in this draft document. This document
                                                                         was prepared to teach law enforcement agents how to use
                                                                         open source information during the course of their
                                                                         investigations and contains tracked changes and comment
                                                                         bubbles. The information contained in this document is
                                                                         withheld per (b)(5) which protects the integrity of the
                                                                         deliberative or decision-making processes within the agency
                                                                         by exempting from mandatory disclosure opinions,
                                                                         conclusions, and recommendations included within inter-
                                                                         agency or intra-agency memoranda or letters. The release of
                                                                         this internal information would discourage the expression of
                                                                         candid opinions and inhibit the free and frank exchange of
                                                                         information and ideas between agency personnel resulting in
                                                                         a chilling effect on intra- and inter-agency communications.

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                                                                    The deliberative process privilege protects the internal
                                                                    deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are
                                                                    pre-decisional and preliminary versions of what may later
                                                                    become a final document in whole or in part. Oftentimes
                                                                    draft documents never evolve into a final form; material is
                                                                    withdrawn or discarded during the decision-making process.

                                                                    Redacted Information per (b)(7)(E):
                                                                    Pages 2019-ICLI-00017.1891 through 2019-ICLI-00017.1959
                                                                    were withheld in full under FOIA Exemption (b)(7)(E) as the
                                                                    document is the manual for how Homeland Security
                                                                    Investigations law enforcement agents conduct open source
                                                                    research during law enforcement investigations, including but
                                                                    not limited to, .procedures and principles used to conduct
                                                                    open source instigations, what software agents utilize and
                                                                    how to use that software, what information should be tracked,
                                                                    what data should be exploited, what techniques should be
                                                                    used when conducting investigations using search engines,
                                                                    and various screen shots demonstrating how to use specific
                                                                    software.

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                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         techniques and procedures law enforcement officers are
                                                                         instructed to use when conducting open source research could
                                                                         assist third parties in circumventing the law and avoid
                                                                         detection by providing insight into what steps could be taken
                                                                         to counter these techniques and procedures. Disclosure of
                                                                         information not commonly known to the public could
                                                                         reasonably be expected to risk circumvention of the law. The
                                                                         disclosure of this law enforcement sensitive information
                                                                         serves no public benefit and would not assist the public in
                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     1960-1963       Partial               (b)(5)                   Document titled “Justification for Other than Full and
ICLI-                                                                    Open Competition”
00017
                                                                         Redacted Information per (b)(5):
                                                                         Partial redactions pursuant to FOIA Exemption (b)(5) was
                                                                         used on this initial, non-final draft of a justification request
                                                                         for other than full and open competition.


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                                                                    Reason for Redaction(s):
                                                                    FOIA exemption (b)(5) was applied to withhold the
                                                                    information contained in this draft document. This document
                                                                    was prepared to obtain approval to use other than full and
                                                                    open competition relating to a contract. This non-final draft
                                                                    contains recommendations, summaries, and opinions and has
                                                                    not been signed. The information contained in this document
                                                                    is withheld per (b)(5) which protects the integrity of the
                                                                    deliberative or decision-making processes within the agency
                                                                    by exempting from mandatory disclosure opinions,
                                                                    conclusions, and recommendations included within inter-
                                                                    agency or intra-agency memoranda or letters. The release of
                                                                    this internal information would discourage the expression of
                                                                    candid opinions and inhibit the free and frank exchange of
                                                                    information and ideas between agency personnel resulting in
                                                                    a chilling effect on intra- and inter-agency communications.
                                                                    The deliberative process privilege protects the internal
                                                                    deliberations of the government by exempting
                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are
                                                                    pre-decisional and preliminary versions of what may later
                                                                    become a final document in whole or in part. Oftentimes

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                                                                         draft documents never evolve into a final form; material is
                                                                         withdrawn or discarded during the decision-making process.
2019-     1966-1967       Partial                                        Email titled “Open Source Question”
ICLI-                                          (b)(5),(b)(7)(E)
00017
                                                                         Redacted Information per (b)(5):
                                                                         Partial redactions pursuant to FOIA Exemption (b)(5) was
                                                                         used on opinions and recommendations on using different
                                                                         systems to conduct open source operations.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the
                                                                         deliberative information contained in this document. This
                                                                         document contains thoughts and opinions regarding what
                                                                         systems to use to conduct open source investigations. The
                                                                         information contained in this document is withheld per (b)(5)
                                                                         which protects the integrity of the deliberative or decision-
                                                                         making processes within the agency by exempting from
                                                                         mandatory disclosure opinions, conclusions, and
                                                                         recommendations included within inter-agency or intra-
                                                                         agency memoranda or letters. The release of this internal
                                                                         information would discourage the expression of candid
                                                                         opinions and inhibit the free and frank exchange of
                                                                         information and ideas between agency personnel resulting in
                                                                         a chilling effect on intra- and inter-agency communications.
                                                                         The deliberative process privilege protects the internal
                                                                         deliberations of the government by exempting

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                                                                    recommendations, analyses, and discussions undertaken to aid
                                                                    agency decision making. The privilege also prevents the
                                                                    premature disclosure of proposed policies, serves to avoid
                                                                    public confusion generated by rationales or decisions not
                                                                    ultimately adopted by an agency, and maintains the integrity
                                                                    of agency decision-making processes by encouraging open
                                                                    and candid discussions. Draft documents, by their nature, are
                                                                    pre-decisional and preliminary versions of what may later
                                                                    become a final document in whole or in part. Oftentimes
                                                                    draft documents never evolve into a final form; material is
                                                                    withdrawn or discarded during the decision-making process.

                                                                    Redacted Information per (b)(7)(E):
                                                                    Partial redactions pursuant to FOIA Exemption (b)(7)(E) was
                                                                    used on the names of systems used to conduct open source
                                                                    investigations.

                                                                    Reason for Redaction
                                                                    Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                    information, the release of which could reveal techniques
                                                                    and/or procedures for law enforcement investigations or
                                                                    prosecutions, or disclose guidelines for law enforcement
                                                                    investigations or prosecutions which could reasonably be
                                                                    expected to risk circumvention of the law. Disclosure of
                                                                    names of systems used by law enforcement could assist third
                                                                    parties in circumventing the law and avoid detection by
                                                                    providing insight into how to avoid detection by these specific

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                                                                         systems and thus circumvent the law. Disclosure of
                                                                         information not commonly known to the public could
                                                                         reasonably be expected to risk circumvention of the law. The
                                                                         disclosure of this law enforcement sensitive information
                                                                         serves no public benefit and would not assist the public in
                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     1971-1976       Full                 (b)(5)                    Document titled “Determination – Approval for Single
ICLI-                                                                    Award Blanket Purchase”
00017
                                                                         Redacted Information per (b)(5):
                                                                         Pages 2019-ICLI-00017.1971 through 2019-ICLI-00017.1976
                                                                         was withheld in full under FOIA Exemption (b)(5) as this
                                                                         document is an initial, non-final draft of the determination to
                                                                         approve a single award contract.

                                                                         Reason for Redaction(s):
                                                                         FOIA exemption (b)(5) was applied to withhold the draft
                                                                         document. This document is an initial, non-final draft of the
                                                                         determination to approve a single award contract and contains
                                                                         tracked changes and comment bubbles. The information
                                                                         contained in this document is withheld per (b)(5) which
                                                                         protects the integrity of the deliberative or decision-making
                                                                         processes within the agency by exempting from mandatory
                                                                         disclosure opinions, conclusions, and recommendations
                                                                         included within inter-agency or intra-agency memoranda or
                                                                         letters. The release of this internal information would

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                                                                         discourage the expression of candid opinions and inhibit the
                                                                         free and frank exchange of information and ideas between
                                                                         agency personnel resulting in a chilling effect on intra- and
                                                                         inter-agency communications. The deliberative process
                                                                         privilege protects the internal deliberations of the government
                                                                         by exempting recommendations, analyses, and discussions
                                                                         undertaken to aid agency decision making. The privilege also
                                                                         prevents the premature disclosure of proposed policies, serves
                                                                         to avoid public confusion generated by rationales or decisions
                                                                         not ultimately adopted by an agency, and maintains the
                                                                         integrity of agency decision-making processes by
                                                                         encouraging open and candid discussions. Draft documents,
                                                                         by their nature, are pre-decisional and preliminary versions of
                                                                         what may later become a final document in whole or in part.
                                                                         Oftentimes draft documents never evolve into a final form;
                                                                         material is withdrawn or discarded during the decision-
                                                                         making process.
2019-     2028-2090       Partial               (b)(7)(E), (b)(4)        Documents titled “Amendment of Solicitation
ICLI-     2161-2162                                                      Modification Contract” “Solicitation/Contract/Order for
00017                                                                    Commercial Items”


                                                                         Redacted Information per (b)(7)(E):
                                                                         Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                         applied to codes associated with ICE employees, Requisition
                                                                         Numbers, and accounting information.


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                                                                    Reason for Redaction
                                                                    Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                    information, the release of which could reveal techniques
                                                                    and/or procedures for law enforcement investigations or
                                                                    prosecutions, or disclose guidelines for law enforcement
                                                                    investigations or prosecutions which could reasonably be
                                                                    expected to risk circumvention of the law. Disclosure of
                                                                    employee codes and requisition numbers could allow a third
                                                                    party if they were to access ICE databases to manipulate
                                                                    and/or accesses law enforcement sensitive information within
                                                                    the databases. Disclosure of information not commonly
                                                                    known to the public could reasonably be expected to risk
                                                                    circumvention of the law. The disclosure of this law
                                                                    enforcement sensitive information serves no public benefit
                                                                    and would not assist the public in understanding how the
                                                                    agency is carrying out its statutory responsibilities.

                                                                    Redacted Information per (b)(4):
                                                                    Partial redactions pursuant to FOIA Exemption (b)(4) was
                                                                    used on contract pricing information.

                                                                    Reasons for Redaction(s):
                                                                    FOIA exemption (b)(4) was applied to withhold a pricing
                                                                    information. Pricing information is confidential financial and
                                                                    commercial information, and as such is protected from
                                                                    disclosure under Exemption 4 of the FOIA. Specifically,
                                                                    Thundercat Technology has consistently treated its pricing

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                                                                       information, including discounts and concessions extended to
                                                                       ICE, as trade secret and commercial and financial information
                                                                       that are proprietary and confidential. Thundercat Technology
                                                                       operates in an extremely competitive environment, and
                                                                       provides the information to ICE with the expectation that the
                                                                       information would remain confidential..
2019-     2114          Partial              (b)(7)(E)                 1 page from the Contract Clauses for Contract HSCEMD-
ICLI-                                                                  17-D-00001
00017
                                                                       Redacted Information per (b)(7)(E):
                                                                       Partial redactions pursuant to FOIA Exemptions (b)(7)(E) was
                                                                       applied to the maximum number of data queries that could be
                                                                       made under the contract.

                                                                       Reason for Redaction
                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques
                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be
                                                                       expected to risk circumvention of the law. Disclosure of the
                                                                       maximum number of queries that could be made under the
                                                                       contract could allow a third party to determine when ICE
                                                                       would no longer be able to submit queries as part of a law
                                                                       enforcement operation and use this information to evade
                                                                       and/or disrupt the operation. Disclosure of information not
                                                                       commonly known to the public could reasonably be expected

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                                                                       to risk circumvention of the law. The disclosure of this law
                                                                       enforcement sensitive information serves no public benefit
                                                                       and would not assist the public in understanding how the
                                                                       agency is carrying out its statutory responsibilities.
2019-     2135          Full                 (b)(7)(E)                 The Performance Work Statement for HSCEMD-17-D-
ICLI-                                                                  00001
00017
                                                                       Redacted Information per (b)(7)(E):
                                                                       Pages 2019-ICLI-00017.2135 through 2019-ICLI-00017.2158
                                                                       is withheld in full under FOIA Exemption (b)(7)(E) as the
                                                                       document contains the description of the requirements that
                                                                       must be fulfilled to assist law enforcement operations,
                                                                       including type of software, specifications, scope, and
                                                                       limitations of the software.

                                                                       Reason for Redaction
                                                                       Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                       information, the release of which could reveal techniques
                                                                       and/or procedures for law enforcement investigations or
                                                                       prosecutions, or disclose guidelines for law enforcement
                                                                       investigations or prosecutions which could reasonably be
                                                                       expected to risk circumvention of the law. Disclosure of the
                                                                       scope of work ICE has requested to assist in their law
                                                                       enforcement operations could assist third parties in
                                                                       understanding the scope and limitations of the software, how
                                                                       to evade and/or disrupt the software utilizing the
                                                                       vulnerabilities indicated in the work statement. Disclosure of

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                                                                         information not commonly known to the public could
                                                                         reasonably be expected to risk circumvention of the law. The
                                                                         disclosure of this law enforcement sensitive information
                                                                         serves no public benefit and would not assist the public in
                                                                         understanding how the agency is carrying out its statutory
                                                                         responsibilities.
2019-     2166-2169       Full                 (b)(7)(E)                 Document titled “White Paper Academic Domain”
ICLI-
00017                                                                    Redacted Information per (b)(7)(E):
                                                                         Pages 2019-ICLI-00017.2166 through 2019-ICLI-00017.2169
                                                                         is withheld in full under FOIA Exemption (b)(7)(E) as the
                                                                         document contains a description of how software could be
                                                                         developed by a contractor that would assist law enforcement
                                                                         operations, including type of software, specifications, scope,
                                                                         and limitations of the software.

                                                                         Reason for Redaction
                                                                         Exemption (b)(7)(E) was applied to law enforcement sensitive
                                                                         information, the release of which could reveal techniques
                                                                         and/or procedures for law enforcement investigations or
                                                                         prosecutions, or disclose guidelines for law enforcement
                                                                         investigations or prosecutions which could reasonably be
                                                                         expected to risk circumvention of the law. Disclosure of the
                                                                         scope of work a contractor could provide to assist in law
                                                                         enforcement operations could assist third parties in
                                                                         understanding the scope and limitations of the software, how
                                                                         to evade and/or disrupt the software utilizing the

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                                                                    vulnerabilities indicated in the work statement. Disclosure of
                                                                    information not commonly known to the public could
                                                                    reasonably be expected to risk circumvention of the law. The
                                                                    disclosure of this law enforcement sensitive information
                                                                    serves no public benefit and would not assist the public in
                                                                    understanding how the agency is carrying out its statutory
                                                                    responsibilities.




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